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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-cv-60859-ALTMAN/Hunt

  ABS HEALTHCARE SERVICES, LLC, et al.,

         Plaintiffs,
  v.

  ANDREW SHADER, et al.,

        Defendants.
  _________________________________________/

                                                   ORDER

         The Plaintiffs filed a Complaint [ECF No. 1] against fifteen defendants. The Defendants then

  filed a Joint Consolidated Motion to Dismiss, Abstain, Compel Arbitration and/or Stay (the

  “Motion”) [ECF No. 34]—requesting (in part) that the Court compel arbitration pursuant to certain

  “Agent Agreements.” The Plaintiffs filed a response in which they consented to arbitration. See

  Plaintiffs’ Response to Defendants’ Joint Consolidated Motion to Dismiss, Abstain, Compel

  Arbitration and/or Stay (“Reply”) [ECF No. 49]. Because the parties agree to the relief the Defendants

  sought in their Motion, 1 the Court hereby ORDERS AND ADJUDGES as follows:




  1
          In their Joint Consolidated Reply in Support of Motion to Dismiss, Abstain, Compel
  Arbitration and/or Stay (the “Reply”) [ECF No. 50], the Defendants ask us to reach the merits of the
  Complaint, because (they say) the Plaintiffs filed a frivolous, unnecessary, and vexatious lawsuit.
  Because the Defendants sought and the Plaintiffs agreed to compel arbitration, however, we decline
  to reach the merits of the Complaint.
          But the Plaintiffs contend (1) that it was only “[a]fter reviewing Defendants’ Motion” that they
  agreed the case was arbitrable, see Response at 1; and (2) that:

         As summarized in Defendants’ Motion, certain parties to this case are currently engage
         in arbitrations before the American Arbitration Association. On May 4, 2021, the
         Broward County Circuit Court ordered the parties to that action, which included nine
         of the Defendants here, to arbitrate. And, on May 4, 2021, [the Plaintiffs] filed [their] own
         demand for arbitration against Kratos, Health Team One, and Ryscik, among others, in response to
         an order compelling arbitration in that action. Most recently, on June 17, 2021, three
                                                        1
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          1. The Defendants’ Motion [ECF No. 34] is GRANTED in part to the extent it seeks to

              compel arbitration. The Plaintiffs shall submit their dispute to binding arbitration as

              provided in the Motion.

          2. This case shall be STAYED pending the outcome of the parties’ arbitration. The Clerk

              shall CLOSE this case for administrative purposes, all pending deadlines and hearings are

              TERMINATED, and any pending motions are DENIED AS MOOT.

          3. Every thirty (30) days after the date of this Order, the parties shall jointly file with the

              Court a report regarding the status of arbitration proceedings.

          4. Within fifteen (15) days of the arbitration’s conclusion, the parties shall jointly file with

              the Court a notice briefly describing the outcome of arbitration.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 23rd day of July 2021.




                                                             _________________________________
                                                             ROY K. ALTMAN
                                                             UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




          Defendants in this action, Corey Shader, Andrew Shader, and NHS, filed a claim
          before the AAA against ICD.

  Id. at 6 (emphasis added). Since the Plaintiffs have not voluntarily dismissed their claims under Rule
  41(a)(1)(A)(i), this Court will retain jurisdiction to entertain (at a later date) any other relief the parties
  may seek. This relief might include, for instance, any of the various kinds of redress the Defendants
  seem to seek through their Reply.
                                                        2
